Case 08-13141-BLS Doc 9453-3 Filed 07/13/11 Page1of2

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July 12, 2011

BY ELECTRONIC TRANSMISSION

Madlyn Gleich Primoff, Esq.
Kaye Scholer LLP

425 Park Avenue

New York, NY 10022-3598

Re: Deutsche Bank Trust Co. Americas v. Merrill Lynch Trust Co.,
No. 11-3148-WJM-JAD (D.N.J.)

Dear Madlyn:

I write in response to the letter you e-mailed to me last night, in which you
allege that the motion to stay that the plaintiffs made in the above action violates the
Bankruptcy Court’s April 25, 2011 order in Jn re Tribune Co. (the “SLCFC Order’).

(I assume you are writing on behalf of the Merrill Lynch-related defendants, although
you do not identify your clients.)

In particular, you object to our proposal that the stay terminate not only
upon further order of the Bankruptcy Court, but upon further order of the District Court
from which the stay has been sought, the Bankruptcy Court’s confirmation of a plan of
reorganization, or (if earlier) October 31, 2011. We do not think any of these alternatives
are inconsistent with the SLCFC Order, especially in light of remarks Chief Judge Carey
made at the hearing on June 28, 2011. At that hearing, at which you are shown to have
been telephonically present, Chief Judge Carey stated, in connection with the
supplementation of the SLCFC Order that he was about to approve, that

it’s not my intention to interfere with the prerogative of any other Court,
State or Federal, with respect to conduct of litigation before it. I mean,
I’ve said what I’ve said, and I — beyond that, in my view, Courts are free
to take their own conduct and manage their own dockets.

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Case 08-13141-BLS Doc 9453-3 Filed 07/13/11 Page 2 of 2

FRIEDMAN KAPLAN SEILER & ADELMAN LLP

Madlyn Gleich Primoff, Esq. -2- July 12, 2011

Hrg. Tr. at 22. In light of these remarks (and even if they had not been made), it was
perfectly proper to have provided in the proposed stay order that the District Court
issuing the order would have the authority to lift it if that Court determined it was
appropriate to do so. Indeed, to have purported to deprive that Court of the ability to do
so would have been peculiar, to say the least.

Nor was it inappropriate to provide that the stay would terminate upon the
confirmation of a plan of reorganization in the Tribune bankruptcy. The existence of
pending objections to the competing plans of reorganization was a key reason for the
Bankruptcy Court’s direction that the state-law constructive fraudulent conveyance
actions be stayed. It is likely that the Bankruptcy Court’s confirmation order will resolve
the concerns that led that Court to impose the stay. If it does not, the parties could
request that the stay be continued.

Finally, the October 31, 2011 outside date for the stay was included in
response to case law that disapproves of the imposition of indefinite stays. As the
memorandum of law in support of the stay motion expressly states, “If it appears that the
plan confirmation issues relating to the Creditor SLCFC Claims will remain unresolved
by the Bankruptcy Court by October 31, 2011, Plaintiffs reserve the right to seek to
extend the stay.” Pl. Mem. at 14 n.7.

Accordingly, we reject your demand that we amend the motion and the
related proposed order to provide that “defendants’ time to answer or otherwise respond
to the complaint in this Action be stayed solely ‘pending further order of the Bankruptcy
Court’” (emphasis in original). We see no basis for your seeking “an emergency hearing
before the Bankruptcy Court” on this matter and suggest that if Merrill Lynch has any
objections to the form of the proposed stay order, it present them to the District Court on
July 18, the date responses to the stay motion are due.

Sincerely,

Axgyp—

Robert J. Lack

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